19-31038-hcm Doc#27 Filed 10/14/20 Entered 10/14/20 15:42:56 Main Document Pg 1 of 9


                                    UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF TEXAS
                                            EL PASO DIVISION

     In re:                                          §    Case No. 19-31038-HCM
                                                     §
     SUPERIOR TLC HOME HEALTH                        §
     CARE, LLC                                       §
                                                     §
                         Debtor(s)                   §

              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
              CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                         AND APPLICATION TO BE DISCHARGED (TDR)

             Ronald E. Ingalls, chapter 7 trustee, submits this Final Account, Certification that the
     Estate has been Fully Administered and Application to be Discharged.

          1)       All funds on hand have been distributed in accordance with the Trustee’s Final
   Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
   administered and all assets and funds which have come under the trustee’s control in this case
   have been properly accounted for as provided by law. The trustee hereby requests to be
   discharged from further duties as a trustee.

          2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
   claims discharged without payment, and expenses of administration is provided below:



   Assets Abandoned:             $1,624.50               Assets Exempt:         NA
   (without deducting any secured claims)



   Total Distributions to                                Claims Discharged
   Claimants:                        $0.00               Without Payment:       NA

   Total Expenses of
   Administration:                   $2,880.91


           3)      Total gross receipts of $2,880.91 (see Exhibit 1), minus funds paid to the
   debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $2,880.91 from the
   liquidation of the property of the estate, which was distributed as follows:




   UST Form 101-7-TDR (10/1/2010)
19-31038-hcm Doc#27 Filed 10/14/20 Entered 10/14/20 15:42:56 Main Document Pg 2 of 9




                                      CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                    SCHEDULED         ASSERTED           ALLOWED                PAID
     Secured Claims
     (from Exhibit 3)                 $10,000.00              $0.00               $0.00               $0.00
     Priority Claims:
         Chapter 7
         Admin. Fees and                     NA           $2,898.42           $2,898.42          $2,880.91
         Charges
          (from Exhibit 4)
         Prior Chapter
         Admin. Fees and                     NA               $0.00               $0.00               $0.00
         Charges (from
         Exhibit 5)
         Priority
         Unsecured                    $14,914.40          $8,885.26           $5,685.26               $0.00
         Claims
         (From Exhibit 6)
     General Unsecured
     Claims (from                          $0.00          $9,717.21           $9,717.21               $0.00
     Exhibit 7)
              Total
        Disbursements                 $24,914.40        $21,500.89           $18,300.89          $2,880.91


           4). This case was originally filed under chapter 7 on 06/25/2019. The case was pending
     for 16 months.

          5). All estate bank statements, deposit slips, and canceled checks have been submitted to
     the United States Trustee.

           6). An individual estate property record and report showing the final accounting of the
     assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
     each estate bank account, showing the final accounting of the receipts and disbursements of
     estate funds is attached as Exhibit 9.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
     foregoing report is true and correct.

            Dated: 10/09/2020                              By: /s/ Ronald E. Ingalls
                                                           /Ro Trustee
                                                           nal
                                                           d E.
                                                           Ing
                                                           alls

     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



   UST Form 101-7-TDR (10/1/2010)
19-31038-hcm Doc#27 Filed 10/14/20 Entered 10/14/20 15:42:56 Main Document Pg 3 of 9


                                                    EXHIBITS TO
                                                   FINAL ACCOUNT

    EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                          AMOUNT
                                                                          TRAN. CODE                       RECEIVED
   Possible TWC refund                                                       1224-000                           $429.02
   Check from AAA                                                            1229-000                         $1,474.02
   Check from TCX Mutual                                                     1229-000                           $977.87
   TOTAL GROSS RECEIPTS                                                                                       $2,880.91

    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

    EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
    NONE


    EXHIBIT 3 – SECURED CLAIMS

    CLAIM           CLAIMANT          UNIFORM               CLAIMS              CLAIMS   CLAIMS               CLAIMS
   NUMBER                            TRAN. CODE          SCHEDULED            ASSERTED ALLOWED                  PAID
                 Liftfund               4210-000             $10,000.00               $0.00        $0.00             $0.00
   TOTAL SECURED CLAIMS                                      $10,000.00               $0.00        $0.00             $0.00


    EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

          PAYEE               UNIFORM               CLAIMS              CLAIMS            CLAIMS              CLAIMS
                             TRAN. CODE          SCHEDULED            ASSERTED          ALLOWED                 PAID
   Claim Amount,                2100-000                     NA            $720.23            $720.23           $711.84
   Trustee
   Claim Amount,                2200-000                     NA            $783.37            $783.37           $774.25
   Trustee
   International Sureties       2300-000                     NA               $0.77             $0.77                $0.77
   Ltd
   Accountant for               3410-000                     NA           $1,360.00        $1,360.00          $1,360.00
   Trustee
   Accountant for               3420-000                     NA             $34.05             $34.05            $34.05
   Trustee
   TOTAL CHAPTER 7 ADMIN. FEES AND                           NA           $2,898.42        $2,898.42          $2,880.91
   CHARGES


    EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
    NONE


    EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

    CLAIM           CLAIMANT          UNIFORM                CLAIMS            CLAIMS           CLAIMS        CLAIMS
   NUMBER                            TRAN. CODE           SCHEDULED          ASSERTED         ALLOWED           PAID


   UST Form 101-7-TDR (10/1/2010)
19-31038-hcm Doc#27 Filed 10/14/20 Entered 10/14/20 15:42:56 Main Document Pg 4 of 9


        1P       Internal Revenue     5800-000      $0.00     $451.50     $451.50    $0.00
                 Service
       3W        Delia Carreto        5300-000    $792.00    $1,122.00   $1,122.00   $0.00
        4        Nelida Lewis         5300-000      $0.00    $3,200.00      $0.00    $0.00
       5W        Nelida Lewis         5300-000   $2,760.00   $3,200.00   $3,200.00   $0.00
       6W        Armando Navarro      5300-000    $682.00     $488.00     $488.00    $0.00
                 Acosta, Elaina M.    5300-000     $49.87       $0.00       $0.00    $0.00
                 Aguirre De           5300-000    $682.00       $0.00       $0.00    $0.00
                 Powell, Elia
                 Avila, Reena         5300-000    $150.00       $0.00       $0.00    $0.00
                 Benitez,             5300-000    $978.89       $0.00       $0.00    $0.00
                 Guillermo D.
                 Borrego, Aleah J.    5300-000   $1,587.25      $0.00       $0.00    $0.00
                 Caldwell, Pricilla   5300-000    $288.00       $0.00       $0.00    $0.00
                 Cerda, Jennifer L.   5300-000    $278.85       $0.00       $0.00    $0.00
                 Crawford,            5300-000    $792.00       $0.00       $0.00    $0.00
                 Savanna M.
                 De La Rosa,          5300-000    $496.00       $0.00       $0.00    $0.00
                 Maria I.
                 Goseck, Reine L.     5300-000    $132.98       $0.00       $0.00    $0.00
                 Hines, Shane M.      5300-000    $264.00       $0.00       $0.00    $0.00
                 Internal Revenue     5300-000      $0.00       $0.00       $0.00    $0.00
                 Service Federal
                 Withholding
                 (Employee)
                 Internal Revenue     5300-000      $0.00       $0.00       $0.00    $0.00
                 Service Medicare
                 (Employee)
                 Internal Revenue     5300-000      $0.00       $0.00       $0.00    $0.00
                 Service Social
                 Security
                 (Employee)
                 Ramirez, Luciana     5300-000    $816.00       $0.00       $0.00    $0.00
                 Arredondo
                 Reyes, Rosario       5300-000   $1,598.00      $0.00       $0.00    $0.00
                 Salazar, Zoey J.     5300-000    $384.00       $0.00       $0.00    $0.00
                 Saldana, Victor      5300-000    $444.00       $0.00       $0.00    $0.00
                 M.
                 Soto, Verenice       5300-000    $577.56       $0.00       $0.00    $0.00
                 Tate, Tanika L.      5300-000    $901.00       $0.00       $0.00    $0.00
                 Valdez, Rosa M.      5300-000    $260.00       $0.00       $0.00    $0.00
                 Internal Revenue     5800-000      $0.00      $28.86      $28.86    $0.00
                 Service (FUTA)
                 Federal
                 Unemployment
                 (Employer)
                 Internal Revenue     5800-000      $0.00      $69.75      $69.75    $0.00
                 Service Medicare
                 (Employer)

   UST Form 101-7-TDR (10/1/2010)
19-31038-hcm Doc#27 Filed 10/14/20 Entered 10/14/20 15:42:56 Main Document Pg 5 of 9


                 Internal Revenue    5800-000           $0.00        $298.22       $298.22      $0.00
                 Service Social
                 Security
                 (Employer)
                 Texas Workforce     5800-000           $0.00         $26.93        $26.93      $0.00
                 Commission State
                 Unemployment
                 (Employer)
   TOTAL PRIORITY UNSECURED CLAIMS                  $14,914.40      $8,885.26     $5,685.26     $0.00


    EXHIBIT 7 – GENERAL UNSECURED CLAIMS

    CLAIM          CLAIMANT          UNIFORM        CLAIMS         CLAIMS         CLAIMS      CLAIMS
   NUMBER                           TRAN. CODE   SCHEDULED       ASSERTED       ALLOWED         PAID
        2        LiftFund, Inc.      7100-000          $0.00      $9,717.21      $9,717.21      $0.00
                 Small Business      7100-000          $0.00         $0.00          $0.00       $0.00
                 Administration
                 Texas Workforce     7100-000          $0.00         $0.00          $0.00       $0.00
                 Commission
   TOTAL GENERAL UNSECURED CLAIMS                      $0.00      $9,717.21      $9,717.21      $0.00




   UST Form 101-7-TDR (10/1/2010)
                                     19-31038-hcm Doc#27 Filed 10/14/20 Entered 10/14/20 15:42:56 Main Document Pg 6 of 9
                                                                           FORM 1
                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                      Page No:    1              Exhibit 8
                                                                               ASSET CASES

Case No.:                     19-31038-HCM                                                                                            Trustee Name:                               Ronald E. Ingalls
Case Name:                    SUPERIOR TLC HOME HEALTH CARE, LLC                                                                      Date Filed (f) or Converted (c):            06/25/2019 (f)
For the Period Ending:        10/9/2020                                                                                               §341(a) Meeting Date:                       08/05/2019
                                                                                                                                      Claims Bar Date:                            11/12/2019

                                 1                                 2                        3                                 4                        5                                          6

                        Asset Description                       Petition/            Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                       Unscheduled           (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                    Value                     Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)

 Ref. #
1       Cash                                                            $224.50                              $0.00                                           $0.00                                           FA
2       A/R                                                            $1,400.00                             $0.00                                           $0.00                                           FA
Asset Notes:      Lyftfund lien, UCC1 filed
3       Office equipment                                               Unknown                               $0.00                                           $0.00                                           FA
Asset Notes:      Lienholder Liftfund
4       Possible TWC refund                             (u)            Unknown                          $429.02                                            $429.02                                           FA
Asset Notes:      added on amended scheds 07/17/19
5       Check from AAA                                  (u)            $1,474.02                      $1,474.02                                        $1,474.02                                             FA
Asset Notes:      added on amended scheds 07/17/19
6       Check from TCX Mutual                           (u)             $997.87                         $977.87                                            $977.87                                           FA
Asset Notes:      added on amended scheds 07/17/19


TOTALS (Excluding unknown value)                                                                                                                                                Gross Value of Remaining Assets
                                                                       $4,096.39                      $2,880.91                                         $2,880.91                                       $0.00




    Major Activities affecting case closing:
      TDR to REI for review
      Odr pay TFR
      TFR Filed at Court
      TFR to REI for review
      TFR TO UST
      Clm #2 called w/address change
      Odr pay Mosley
      IRS amended clm 1
      Mosley FA filed; mailed tax returns
      Odrs obj clms 2&4
      rec'd 1120, 940, & 941 rtns rqsted
      filed obj claims 2, 4
      Clms 4 & 5 filed looks like 5 is amend of 4
      Odr hire Mosley
                                   19-31038-hcm Doc#27 Filed 10/14/20 Entered 10/14/20 15:42:56 Main Document Pg 7 of 9
                                                                         FORM 1
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                    Page No:    2              Exhibit 8
                                                                              ASSET CASES

Case No.:                  19-31038-HCM                                                                                            Trustee Name:                              Ronald E. Ingalls
Case Name:                 SUPERIOR TLC HOME HEALTH CARE, LLC                                                                      Date Filed (f) or Converted (c):           06/25/2019 (f)
For the Period Ending:     10/9/2020                                                                                               §341(a) Meeting Date:                      08/05/2019
                                                                                                                                   Claims Bar Date:                           11/12/2019

                               1                                 2                          3                              4                        5                                         6

                       Asset Description                       Petition/             Estimated Net Value                Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                       Unscheduled            (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                    Value                      Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)

      IRS faxed amended copy of clm
      IRS faxed copy of clm
      app to employ accountant


Initial Projected Date Of Final Report (TFR):   03/31/2020                 Current Projected Date Of Final Report (TFR):       09/30/2020               /s/ RONALD E. INGALLS
                                                                                                                                                        RONALD E. INGALLS
                                      19-31038-hcm Doc#27 Filed 10/14/20 Entered
                                                                            FORM 10/14/20
                                                                                   2      15:42:56 Main Document Pg Page
                                                                                                                    8 ofNo:91                                                                         Exhibit 9
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           19-31038-HCM                                                                                            Trustee Name:                         Ronald E. Ingalls
 Case Name:                         SUPERIOR TLC HOME HEALTH CARE, LLC                                                                      Bank Name:                            Independent Bank
 Primary Taxpayer ID #:             **-***1034                                                                                              Checking Acct #:                      ******1038
 Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:
 For Period Beginning:              6/25/2019                                                                                               Blanket bond (per case limit):        $115,993,000.00
 For Period Ending:                 10/9/2020                                                                                               Separate bond (if applicable):

       1                 2                                   3                                          4                                                           5                 6                       7

   Transaction        Check /                            Paid to/             Description of Transaction                                     Uniform           Deposit          Disbursement               Balance
      Date             Ref. #                         Received From                                                                         Tran Code            $                   $


08/16/2019             (5)      Rio Grande Council of Governments     ck 8635 d 5/31/19 funds rec'd                                          1229-000             $1,474.02                                       $1,474.02
08/16/2019             (6)      Texas Mutual                          ck 107908 d 6/28/19 funds rec'd                                        1229-000              $977.87                                        $2,451.89
10/07/2019            1001      International Sureties Ltd            2019 Bond Inv d 10/02/19 #016071777                                    2300-000                                         $0.77               $2,451.12
11/11/2019             (4)      Texas Comptroller                     TW 141083170 d 11/7/19 tax overpayment                                 1224-000              $429.02                                        $2,880.14
04/15/2020            1002      John Mosley                           accountant fees, expenses per order #20, 4/14/20                           *                                        $1,394.05               $1,486.09
                                                                                                                             $(1,360.00)     3410-000                                                             $1,486.09
                                                                                                                                $(34.05)     3420-000                                                             $1,486.09
09/09/2020            1003      Ronald E. Ingalls                     Trustee Compensation Trustee Expenses                                      *                                        $1,486.09                  $0.00
                                                                      Claim Amount                                             $(711.84)     2100-000                                                                $0.00
                                                                      Claim Amount                                             $(774.25)     2200-000                                                                $0.00

                                                                                        TOTALS:                                                                   $2,880.91               $2,880.91                  $0.00
                                                                                            Less: Bank transfers/CDs                                                  $0.00                   $0.00
                                                                                        Subtotal                                                                  $2,880.91               $2,880.91
                                                                                            Less: Payments to debtors                                                 $0.00                   $0.00
                                                                                        Net                                                                       $2,880.91               $2,880.91



                      For the period of 6/25/2019 to 10/9/2020                                                           For the entire history of the account between 08/16/2019 to 10/9/2020

                      Total Compensable Receipts:                        $2,880.91                                       Total Compensable Receipts:                                 $2,880.91
                      Total Non-Compensable Receipts:                        $0.00                                       Total Non-Compensable Receipts:                                 $0.00
                      Total Comp/Non Comp Receipts:                      $2,880.91                                       Total Comp/Non Comp Receipts:                               $2,880.91
                      Total Internal/Transfer Receipts:                      $0.00                                       Total Internal/Transfer Receipts:                               $0.00


                      Total Compensable Disbursements:                   $2,880.91                                       Total Compensable Disbursements:                            $2,880.91
                      Total Non-Compensable Disbursements:                   $0.00                                       Total Non-Compensable Disbursements:                            $0.00
                      Total Comp/Non Comp Disbursements:                 $2,880.91                                       Total Comp/Non Comp Disbursements:                          $2,880.91
                      Total Internal/Transfer Disbursements:                 $0.00                                       Total Internal/Transfer Disbursements:                          $0.00
                                   19-31038-hcm Doc#27 Filed 10/14/20 Entered
                                                                         FORM 10/14/20
                                                                                2      15:42:56 Main Document Pg Page
                                                                                                                 9 ofNo:92                                                              Exhibit 9
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         19-31038-HCM                                                                                 Trustee Name:                         Ronald E. Ingalls
Case Name:                       SUPERIOR TLC HOME HEALTH CARE, LLC                                                           Bank Name:                            Independent Bank
Primary Taxpayer ID #:           **-***1034                                                                                   Checking Acct #:                      ******1038
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:            6/25/2019                                                                                    Blanket bond (per case limit):        $115,993,000.00
For Period Ending:               10/9/2020                                                                                    Separate bond (if applicable):

      1                 2                                3                                        4                                                 5                   6                       7

  Transaction        Check /                         Paid to/             Description of Transaction                           Uniform           Deposit          Disbursement               Balance
     Date             Ref. #                      Received From                                                               Tran Code            $                   $




                                                                                                                                                                            NET                ACCOUNT
                                                                                    TOTAL - ALL ACCOUNTS                               NET DEPOSITS                    DISBURSE               BALANCES

                                                                                                                                                 $2,880.91              $2,880.91                      $0.00




                     For the period of 6/25/2019 to 10/9/2020                                              For the entire history of the case between 06/25/2019 to 10/9/2020

                     Total Compensable Receipts:                      $2,880.91                            Total Compensable Receipts:                                 $2,880.91
                     Total Non-Compensable Receipts:                      $0.00                            Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $2,880.91                            Total Comp/Non Comp Receipts:                               $2,880.91
                     Total Internal/Transfer Receipts:                    $0.00                            Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                 $2,880.91                            Total Compensable Disbursements:                            $2,880.91
                     Total Non-Compensable Disbursements:                 $0.00                            Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:               $2,880.91                            Total Comp/Non Comp Disbursements:                          $2,880.91
                     Total Internal/Transfer Disbursements:               $0.00                            Total Internal/Transfer Disbursements:                          $0.00




                                                                                                                           /s/ RONALD E. INGALLS
                                                                                                                           RONALD E. INGALLS
